                 CERTIFICATE OF NON-CONCURRENCE

      I hereby certify that I sought the concurrence of Plaintiff in Defendant

County of Lancaster’s Motion to Take Judicial Notice. Plaintiff does not concur in

the motion.

                                      McNEES WALLACE & NURICK LLC

                                      By
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Dated: December 17, 2024
